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                                                                                  11/09/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   KIMU JOHNSON,                                              :
                                                              :
                                                Plaintiff,    :   1:19-cv-09525 (ALC)
                                                              :
                     -against-                                :   ORDER
                                                              :
   PORT AUTHORITY TRANS HUDSON                                :
   CORP.,                                                     :
                                                              :
                                             Defendant.       :
------------------------------------------------------------x :

ANDREW L. CARTER, JR., United States District Judge:

          The Court is in receipt of the Parties joint status report filed on November 6, 2020. ECF

No. 28.

          Accordingly, the Parties are hereby ORDERED to file a joint status report advising the

Court of their availability for a jury trial in May and the expected length of trial.

          The Parties are also hereby ORDERED to file a joint pretrial order in accordance with

this Court’s Individual Practices by no later than December 9, 2020.

SO ORDERED.

Dated: November 9, 2020
       New York, New York                                 ___________________________________
                                                                ANDREW L. CARTER, JR.
                                                                United States District Judge
